                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

______________________________________________________________________________
SENTRY INSURANCE COMPANY f/k/a :
SENTRY INSURANCE A MUTUAL              :
COMPANY a/s/o Kanson Electronics, Inc. :
1800 North Point Drive                 :
Stevens Point, Wisconsin 54481         :
                                       :  Civil Action No.:
                     Plaintiff,        :
                                       :
v.                                     :
                                       :
THE INDUSTRIAL DEVELOPMENT             :
BOARD OF THE CITY OF                   :
HOHENWALD, TENNESSEE                   :
118 W. Linden Avenue                   :  JURY TRIAL DEMANDED
Hohenwald, Tennessee 38462             :
                                       :
                     Defendant.        :
                                       :

                                         COMPLAINT

       COMES NOW, Plaintiff, Sentry Insurance Company f/k/a Sentry Insurance a Mutual

Company as subrogee of Kanson Electronics, Inc., by and through its undersigned counsel, and

states by way of Complaint against The Industrial Development Board of the City of Hohenwald,

Tennessee as follows:

                                            PARTIES

       1.      Plaintiff, Sentry Insurance Company f/k/a Sentry Insurance a Mutual Company as

subrogee of Kanson Electronics, Inc. (hereinafter, “Sentry” and/or “Plaintiff”), is an insurance

company organized and existing under the laws of the State of Wisconsin with its principal place

of business located in Stevens Point, Wisconsin.

       2.      At all times relevant hereto, Sentry was authorized to issue and administer

insurance policies in the State of Tennessee.

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       3.      Defendant, The Industrial Development Board of the City of Hohenwald,

Tennessee (hereinafter, “IDB”) is a nonprofit corporation organized and existing under the laws

of the State of Tennessee with its principal place of business located at 118 W. Linden Avenue,

Hohenwald, Tennessee.

                                 JURISDICTION AND VENUE

       4.      Jurisdiction in this Court is based upon diversity of citizenship pursuant to 28

U.S.C. §1332, as this action is between citizens of different states and the amount in controversy,

exclusive of interest and costs, is in excess of $75,000.00.

       5.      Venue is proper pursuant to 28 U.S.C. §1391 because a substantial part of the events

or omissions giving rise to Plaintiff’s claims occurred within the Middle District of Tennessee.

                                  GENERAL ALLEGATIONS

       6.      At all times relevant hereto, Plaintiff’s insured, Kanson Electronics, Inc.

(hereinafter “Kanson” and/or “Plaintiff’s Insured”) was a tenant in a property owned by the IDB,

located at 245 Forrest Avenue, Hohenwald, Tennessee (hereinafter, the “Property”).

       7.      At all times relevant hereto, Sentry provided insured to Kanson pursuant to a policy

of insurance, Policy Number 2553746001 (hereinafter, the “Policy”).

       8.      On or about November 20, 2012, Kanson entered into a lease agreement with the

IDB to lease the Property for a term of 20 years (hereinafter, the “Lease”). See, IDB/Kanson

Electronics, Inc. Lease Agreement, attached hereto as Exhibit “1”.

       9.      Per the terms of the Lease, the IDB agreed that “Exterior building maintenance and

non-building improvements, such as, but not limited to; sidewalks, parking lots, sidewalls,

porches, etc…and major systems serving the leased premises, such as, but not limited to; HVAC,

plumbing, electrical, etc… will be the responsibility of IDB; these items include, but shall not be



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limited to, the roof, walls, doors, windows, foundation, and/or any fixed asset of the building to

keep the structure in compliance with local ordinances or codes…” Lease at p. 2 ¶ h.

        10.      Prior to January 11, 2020, the IDB allowed the roof of the Property to fall into a

state of disrepair.

        11.      Prior to January 11, 2020, the IDB allowed the roof of the Property to suffer water

intrusion.

        12.      Prior to January 11, 2020, the IDB allowed the electrical system at the Property to

fall into a state of disrepair.

        13.      On or about January 11, 2020, rainwater leaked through the roof of the Property

onto electrical components within the Property, causing a fire (hereinafter, the “Fire”).

        14.      The Fire spread to nearby combustibles causing fire, smoke, and water damage

throughout the Property.

        15.      As a direct and proximate result of the Fire, Kanson sustained damages in excess

of $75,000.00.

        16.      As a result of the January 11, 2020 Fire, and pursuant to terms and conditions of

the Policy, Sentry made payments to, or on behalf of, its insured in excess of $75,000.00.

        17.      As a result of the payments made to, or on behalf of, its Insured, and pursuant to

the terms and conditions of the Policy, Plaintiff, Sentry, is legally, equitably and contractually

subrogated to the rights of its Insured to the extent of its payments.

                                    COUNT I - NEGLIGENCE

        18.      Plaintiff hereby incorporates by reference the allegations set forth in the preceding

paragraphs of the Complaint as if fully set forth herein at length.




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       19.     At all times relevant hereto, Defendant, IDB had a duty to exercise reasonable care

in connection with its ownership of the Property.

       20.     At all times relevant hereto, Defendant, IDB had a duty to exercise reasonable care

in connection with its maintenance, inspection, and/or repair of the Property.

       21.     The Defendant breached the duties owed to Plaintiff’s Insured because they failed

to exercise reasonable care in their ownership, inspection, maintenance, and/or repair of the

Property.

       22.     The January 11, 2020 Fire and resulting damages were the direct and proximate

result of negligence, carelessness and/or negligent acts and/or omissions of Defendant, IDB.

       23.     As a direct and proximate result of the negligent conduct of the Defendant,

Plaintiff’s Insured sustained substantial fire, smoke, and water damage, to its property as well as

other losses for which Kanson was compensated by Sentry.

       24.     As a result of the payments made to its Insured, and pursuant to the terms and

conditions of the Policy, Plaintiff, Sentry, is legally, equitably and contractually subrogated to the

rights of its Insured to the extent of its payments.

       WHEREFORE, Plaintiff, Sentry Insurance Company f/k/a Sentry Insurance a Mutual

Company as subrogee of Kanson Electronics, Inc., demands judgment in its favor and against

Defendant, The Industrial Development Board of the City of Hohenwald, Tennessee, on Count I

of the Complaint for compensatory damages in excess of $75,000.00, together with interest,

attorneys’ fees, costs of suit, and such other and further relief as the Court deems just and proper.

                            COUNT II – BREACH OF CONTRACT

       25.     Plaintiff hereby incorporates by reference the allegations set forth in the preceding

paragraphs of the Complaint as if fully set forth herein at length.



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       26.     Plaintiff’s Insured entered into a written lease agreement with Defendant, which

obligated Defendant to maintain certain parts of the Property.

       27.     As part of the Lease, Defendant was responsible for building maintenance to the

roof and the electrical system of the Property.

       28.     Plaintiff’s Insured performed all required conditions precedent under the Lease.

       29.     Defendant, IDB breached their contract with Plaintiff’s Insured by failing to

provide building maintenance for the roof and electrical systems in a good and workmanlike

manner and/or for providing these services in a negligent, careless and reckless manner.

       30.     The Defendant’s breach of contract was the direct and proximate cause of the

January 11, 2020 Fire and the losses sustained by Plaintiff’s Insured.

       31.     As a direct and proximate result of the Defendant’s breach of contract, Plaintiff’s

Insured suffered significant damage to its property and suffered other losses for which it was

compensated by Sentry in excess of $75,000.00.

       32.     As a result of the payments made to its Insured, and pursuant to the terms and

conditions of the Policy, Plaintiff, Sentry, is legally, equitably and contractually subrogated to the

rights of its Insured to the extent of its payments.

       WHEREFORE, Plaintiff, Sentry Insurance Company f/k/a Sentry Insurance a Mutual

Company as subrogee of Kanson Electronics, Inc., demands judgment in its favor and against

Defendant, The Industrial Development Board of the City of Hohenwald, Tennessee, on Count II

of the Complaint for compensatory damages in the amount of $75,000.00, together with interest,

attorneys’ fees, costs of suit, and such other and further relief as the Court deems just and proper.




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                                         JURY DEMAND

       Plaintiff, Sentry Insurance Company f/k/a Sentry Insurance a Mutual Company as subrogee

of Kanson Electronics, Inc., hereby demands a trial by jury as to all issues so triable.




                                              Respectfully submitted,



                                              /s/ Gail Vaughn Ashworth_________________
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